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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


Deborah Laufer,

                            Plaintiff,
                                                                Case No.: 1:20−cv−05364
v.
                                                                Honorable Thomas M. Durkin
SURF HOTEL INVESTMENTS LLC, a
Foreign Limited Liability Corporation,

                            Defendant.


                           MEMORANDUM OF LAW IN SUPPORT OF
                        DEFENDANT’S MOTION TO DISMISS COMPLAINT

I.         INTRODUCTION

           Plaintiff Deborah Laufer (“Plaintiff”) initiated this case against Defendant Surf Hotel

Investments LLC, a Foreign Limited Liability Corporation (“Defendant” or “Surf”) as one of over

5001 nearly identical ADA lawsuits filed across the country. Defendant owns and/or operates

the Willows Hotel located in Chicago, Illinois. Courts have taken notice of Plaintiff filing these

identical cases despite lacking subject matter jurisdiction and standing. Plaintiff is a resident

of Florida and never alleges that she visited the state of Illinois, the hotel in question or has any

intent to visit Illinois or the Willows Hotel. There is no concrete harm or risk of immediate future

harm.

           To satisfy federal pleading requirements, Plaintiff must sufficiently allege facts which, if

proven true, state a claim upon which relief can be granted. See Fed. R. Civ. P. 12(b)(6). For the

reasons set forth herein, Plaintiff fails to do so in her Complaint and this Court should grant



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    See Affidavit of Kenneth D. Walsh in Support of Motion to Dismiss, Exhibit A.

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Defendant’s Motion to Dismiss pursuant to Federal Rules of Civil Procedure Rule 12(b)(1) and

12(b)(6).2

II.    BACKGROUND

       On September 10, 2020, Plaintiff commenced this action against Defendant seeking

injunctive relief and attorneys’ fees for alleged violations of the Americans with Disabilities Act

(“ADA”). In her Complaint, Plaintiff alleges that she is a resident of Pasco County, Florida. See

Walsh Aff. Ex. B (“Compl.”), at ¶ 1. At no point in her Complaint does Plaintiff allege that she

has visited Illinois or the Willows Hotel or that she has any intention to do so in the future.

       Rather, Plaintiff alleges that she “qualifies as an individual with disabilities as defined by

the ADA” and that she is “a ‘tester’ for the purpose of asserting her civil rights and monitoring,

ensuring, and determining whether places of public accommodation and their websites are in

compliance with the ADA.” Id. at ¶¶ 1-2. Plaintiff further alleges that she visited certain websites,

including Defendant’s booking site and third-party websites such as expedia.com, hotels.com,

booking.com, orbitz.com, agoda.com, and trip.com “for the purpose of reviewing and assessing

the accessible features at the Property and ascertain whether they meet the requirements of 28

C.F.R. Section 36.302(e).” Id. at ¶ 10. Plaintiff alleges that “the online reservations system for

The Willows hotel were not compliant with the [applicable] regulations.” Id. Plaintiff, therefore,

seeks attorneys’ fees, costs and injunctive relief. Id. at ¶¶ 19-20.

       Critically, Plaintiff does not allege that she visited the state of Illinois, the city of Chicago,

the Subject Property or that she has any plans or intentions of visiting the Subject Property in

Illinois. The Complaint does not allege that Plaintiff has any reason or intention to travel anywhere



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        Pursuant to this Court’s Individual Rules of Practice, counsel for Defendant sought consent
for the relief requested herein, which Plaintiff’s counsel denied.

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in Illinois or any reason or intention to seek lodging anywhere in or around Chicago. Accordingly,

and as described herein, Plaintiff lacks standing to pursue the claims asserted in this action, and

her Complaint should be dismissed in its entirety.

III.    LEGAL ARGUMENT

        A.      Courts Must Sua Sponte Assess Standing For Subject Matter Jurisdiction

        “Article III of the Constitution limits the jurisdiction of the federal courts to actual cases

or controversies.” UAW v. Johnson, 674 F.2d 1195, 1198 (7th Cir. 1982). Accordingly, it is well-

settled that the party asserting federal jurisdiction must “carry the burden of establishing standing”

as the proper party under Article III. Hinrichs v. Speaker of the House of Representatives, 506

F.3d 584, 590 (7th Cir. 2007); see Scanlan v. Eisenberg, 669 F.3d 838, 841 (7th Cir. 2012)

(“Plaintiffs—as the party invoking federal jurisdiction—bear the burden to establish standing.”).

        Moreover, “it has been the virtually universally accepted practice of the federal courts to

permit any party to challenge or, indeed, to raise sua sponte the subject-matter jurisdiction of the

court at any time and at any stage of the proceedings.” Craig v. Ont. Corp., 543 F.3d 872, 875

(7th Cir. 2008) (internal citations omitted); see also Phoenix Bond & Indem. Co. v. FDIC, No. 18

C 6897, 2020 U.S. Dist. LEXIS 127395, at *5 n.2 (N.D. Ill. July 20, 2020) (dismissing claim for

lack of jurisdiction without affording response from non-moving party and observing that “[i]f

the court determines at any time that it lacks subject-matter jurisdiction, the court must dismiss

the action”). Indeed, “the court itself ha[s] a duty to ascertain the propriety of its jurisdiction”

and “[i]f a federal court doubts its jurisdiction, it should address its concerns sua sponte.” Mader

v. Motorola, Inc.,1999 U.S. App. LEXIS 7283, at *5 (7th Cir. Apr. 9, 1999); see also Wellness

Int’l Network, Ltd. v. Sharif, 727 F.3d 751, 768 (7th Cir. 2013) (“[I]t is true that questions of




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subject-matter jurisdiction may be raised at any time, as parties cannot consent to subject-matter

jurisdiction; indeed, such questions must be considered by a court sua sponte.”).

       B.      Standing Requires Concrete Harm Among Other Elements

       To establish standing a plaintiff must demonstrate (1) an “injury in fact” that is “concrete

and particularized” and “actual or imminent, not conjectural or hypothetical,” (2) “a causal

connection between the injury and the conduct complaint of,” and (3) redressability of the injury

by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–65 (1992). Where “a case

is at the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each element.”

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Warth v. Seldin, 422 U.S. 490, 518

(1975)).

       “For an injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and

individual way.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560 n.1). To be

“concrete” an injury “must actually exist”: the injury must be “real” and not “abstract.” Id.

Generally, “even in the context of a statutory violation,” “a bare procedural violation, divorced

from any concrete harm,” does not satisfy the injury-in-fact requirement of Article III. Id. at

1549–50 (holding that the plaintiff could not satisfy the demands of Article III by simply alleging

that consumer reporting agency disseminated information in violation of the Fair Credit

Reporting Act of 1970: “[a] violation of” a “procedural requirement[] may result in no harm”

and not all “inaccuracies cause harm or present any material risk of harm”). A “risk of real

harm” may “satisfy the requirement of concreteness.” Id. at 1549 (noting statutes where the

violation of a procedural right would be sufficient because Congress identified harms sufficient

to constitute injury in fact). Thus, “the critical question for standing purposes is whether the

alleged violations ‘entail a degree of risk sufficient to meet the concreteness requirement.’”



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Crabtree v. Experian Info. Sols., Inc., 948 F.3d 872, 877 (7th Cir. 2020) (quoting Spokeo, 136

S. Ct. at 1550).

        C.         Injunctive Relief Requires Risk Of Immediate Injury

        To have standing to seek injunctive relief Plaintiff “must show that [she is] under an actual

or imminent threat of suffering a concrete and particularized injury in fact; that this injury is fairly

traceable to the defendant’s conduct; and that it is likely that a favorable judicial decision will

prevent or redress the injury.” Common Cause Ind. v. Lawson, 937 F.3d 944, 949 (7th Cir. 2019)

(quoting Summers v. Earth Island Inst., 129 S. Ct. 1142 (2009)); see United Asset Coverage, Inc.

v. Avaya Inc., 409 F. Supp. 2d 1008, 1041 (N.D. Ill. 2006) (“[A] plaintiff’s entitlement to

preliminary injunctive relief requires it, in addition to showing that its harm is irreparable, to show

that the harm is imminent as well.”). Here, Plaintiff fails to satisfy her burden, and she is not

entitled to the injunctive relief she seeks for the reasons that follow.

        D.         Plaintiff Lacks Standing Because There Is No Concrete Harm

        Plaintiff is a resident of Florida. Compl. ¶ 1. Defendant owns the Willows Hotel – the

Subject Property – located in Chicago, Illinois. Id. at ¶ 3. There are no facts in the Complaint

indicating that Plaintiff has ever traveled to Chicago, Illinois, or anywhere in Illinois or has any

plans or intention to do so in the future. Nor does Plaintiff allege that she has stayed at the Willows

Hotel or that she has any intention to do so at any time.

        Plaintiff alleges that she is a “tester” for purposes of determining compliance with the

ADA. Compl. ¶ 2. However, Plaintiff’s status as a “tester” is not sufficient to establish subject

matter jurisdiction in this action or to confer standing for Plaintiff to assert the claims she asserts

herein. See Griffin v. Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 656 (4th Cir. 2019)

(holding that a plaintiff who was ineligible to be a member of a credit union failed to establish



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standing to bring an ADA claim concerning its website because tester status “cannot create

standing in the absence of an otherwise plausible assertion that a return to the website would

allow [the plaintiff] to avail himself of its services”); see also Carello v. Aurora Policemen Credit

Union, 930 F.3d 830, 833 (7th Cir. 2019) (“[W]hile tester status does not defeat standing, it does

not automatically confer it either. A tester must still satisfy the elements of standing, including

the injury-in-fact requirement.”) (internal quotation citation omitted).

       Multiple courts have taken notice of these types of spam style ADA lawsuits and have

observed that the serial plaintiffs lack the requisite standing. Such courts have dismissed nearly

identical cases or filed orders to show cause sua sponte regarding whether standing and subject

matter jurisdiction exists. For example, the court in Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-

BKS-ML, 2020 U.S. Dist. LEXIS 79545 (N.D.N.Y. May 6, 2020), involving the same Plaintiff as

the case at hand (Laufer), issued a sua sponte Memorandum-Decision and Order regarding

Plaintiff’s lack of standing, stating “There are no facts in the Complaint or Plaintiff’s affidavit

indicating that she has ever traveled to Rensselaer, New York, or anywhere in New York, or that

she has any reason to travel anywhere in New York or any reason to seek lodging anywhere in

New York.” Id. Doc #15 at p. 7. The court went on to say “the Court questions whether the

Plaintiff has established standing, in accord with Spokeo, Kreisler, and Deeper Life Christian

Fellowship, Inc., and thus whether the Court has subject matter jurisdiction over this action.” Id.

Doc #15 at p. 9.3

       Other courts have taken notice of Plaintiff’s abuse of litigation as well. For example, in

Laufer v. 1110 Western Albany, LLC, Case No. 1:19-cv-01324-BKS-ML, 2020 U.S. Dist. LEXIS


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       This matter is still pending, as the Court has not yet issued a decision on Ms. Laufer’s
standing, and, in fact, has withheld issuing a finding that the defendant is in default until having
the opportunity to do so.

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81128 (N.D.N.Y. May 7, 2020), the Court issued an Order on May 7, 2020 noting that “Plaintiff

Deborah Laufer, a Florida resident . . . has 29, nearly identical, cases pending against different

defendants in the Northern District of New York.” Id., Doc # 21 at p. 1. The court went on to

find that “There appears to be a serious question as to whether Plaintiff has established

standing, in this, or any of her other cases, and thus whether the Court has subject matter

jurisdiction over these actions.” Id. at p. 2 (emphasis added). The court then ordered that Plaintiff

file briefs addressing whether she has standing in that case and 27 other cases filed by Plaintiff

Laufer listed in the court’s Exhibit A attached to the Order. Id. at p. 2. Subsequent to that, the

case was dismissed due to settlement. Id. Doc # 22, 23. Similarly, the Court here should question

Plaintiff’s standing, which in fact does not exist.

       Likewise, in New Jersey, The Hon. Renee Marie Bumb issued an Order to Show Cause in

three similar cases also brought by a serial ADA plaintiff residing in Florida alleging violations on

defendant’s website reservations system. Hernandez v. Caesars License Co., LLC, Case No. 1:19-

cv-06087-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v. Caesars License Co., LLC, Case No.

1:19-cv-06088-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v. Montego Bay Resort and

Conference Center, Case No. 1:19-cv-06091-RMB-AMD (USDC DNJ), Doc # 4. The Court’s

Order in those cases should apply to this case, as the lack of standing in those cases is nearly

identical here:

                  An examination of the facts alleged in the complaints leads this
                  Court to question whether Plaintiff has established that he has
                  suffered an injury in fact. Plaintiff alleges that he “visited the
                  Property’s website for the purpose of reviewing an assessing the
                  accessible features at the Property in order to ascertain whether it
                  meets Plaintiff’s individual disability needs[.]” The complaints do
                  not plead how many times Plaintiff visited each website. Moreover,
                  while Plaintiff pleads a laundry list of “disability accommodations”
                  he was “unable to verify” “whether the Property contain[ed],” the
                  complaints do not even plead that Plaintiff, who “resides in Miami,

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               Florida,” has any intention of visiting New Jersey, much less the
               specific properties identified in the complaints. Rather, Plaintiff
               merely pleads in conclusory fashion that “Plaintiff intends to revisit
               Defendant’s or Defendant’s third-party agent’s website and/or
               online reservation system in order to test it for compliance with 28
               C.F.R. § 36.302(e) and/or otherwise determine if the site provides
               enough information for Plaintiff to determine whether the site comes
               into compliance with the guidelines of the aforementioned law.”

               Thus, it does not appear that Plaintiff has pled an injury in fact.
               In this regard, the Court finds this case analogous to Murray v.
               Lifetime Brands, Inc., No. CV 16-5016, 2017 WL 1837855 (D.N.J.
               May 8, 2017). In that case, as here, the plaintiff’s claim was
               premised on an “‘unlawful denial of access to information subject
               to disclosure.’” Id. at *3 (quoting In re: Nickelodeon Consumer
               Privacy Litig., 827 F.3d 262, 273-74 (3d Cir. 2016)). In Murray,
               Judge Hillman held that the plaintiff had not established an injury
               in fact, explaining, “[c]ritically, what Murray fails to do, however,
               is identify the harm that resulted from allegedly not knowing what
               she asserts the [law] requires [defendant] to tell her.” Id. at *4.

               In this case, too, Plaintiff fails to plead what actual, concrete
               harm he suffered, or will continue to suffer, as a result of
               allegedly being unable to determine whether each property has
               disability accommodations that meet his needs.

Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

Doc # 4 at p. 4-5 (emphasis added) (internal citations and footnote omitted). The court then ordered

that plaintiff show cause “why this case should not be dismissed for lack of Article III standing.”

Id. at p. 6. The defendant subsequently filed a motion to dismiss much like the present motion, and

the court issued an Order granting defendant’s motion to dismiss for lack of subject matter

jurisdiction. Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW

(USDC DNJ), Doc # 25. The same thing occurred in the second case Hernandez v. Caesars License

Co., LLC, Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc # 24. In the third case,

plaintiff filed a notice of voluntary dismissal, presumably acknowledging the lack of standing and

jurisdiction. Hernandez v. Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-

RMB-AMD (USDC DNJ), Doc # 5.

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       Here, Plaintiff has alleged no facts that she has ever visited Illinois or the Willows Hotel,

or that she has any intention to do so in the future. Accordingly, the case lacks subject matter

jurisdiction and the Court should dismiss the Complaint in its entirety.

IV. CONCLUSION

       Plaintiff lacks standing in this case, and it is respectfully submitted that the Court

accordingly lacks subject matter jurisdiction. This issue has been thoroughly explored by other

courts, including in dozens of cases involving this very Plaintiff, resulting in orders and dismissals

for lack of jurisdiction. Thus, Defendant respectfully requests that the Court dismiss Plaintiff’s

Complaint with prejudice for lack of subject matter jurisdiction as well.



Dated: November 17, 2020                           LEWIS BRISBOIS BISGAARD & SMITH
                                                   LLP


                                                   By: /s/ Kenneth D. Walsh
                                                       One of Its Attorneys


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